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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
WHEELING DIVISION

DIANA MEY, on behalf of herself
and a class of others similarly situation,

Plaintiff,
Civil Action No. 5:19-cv-315

MEDGUARD ALERT, INC.,
SAFE HOME SECURITY, INC.,
LIFEWATCH INC., and
A HOLDING GROUP, LLC,
Defendants.
STIPULATION OF DISMISSAL WITH PREJUDICE
IT IS HEREBY STIPULATED AND AGREED, by and between all parties in the above
entitled action, that pursuant to Fed. R. Civ. P. 41(a)()A(i), this action is discontinued and

dismissed, with prejudice, without costs to any party as against the other, All parties shall bear

their own attorneys:,fees and waive all rights of appeal.
pel Cn: Mel, LA

 

 

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